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                               Nebraska Supreme Court Advance Sheets
                                        308 Nebraska Reports
                                         EGAN v. COUNTY OF LANCASTER
                                                 Cite as 308 Neb. 48



                           E. Jane Egan and Janis Howlett, appellants,
                                v. County of Lancaster, Nebraska,
                                         et al., appellees.
                                                    ___ N.W.2d ___

                                        Filed December 31, 2020.   No. S-19-1048.

                 1. Standing: Jurisdiction: Judgments: Appeal and Error. Standing is
                    a jurisdictional component of a party’s case, because only a party who
                    has standing may invoke the jurisdiction of a court; determination of a
                    jurisdictional issue which does not involve a factual dispute is a matter
                    of law which requires an appellate court to reach its conclusions inde-
                    pendent from those of a trial court.
                 2. Statutes: Appeal and Error. Statutory interpretation is a question of
                    law, which an appellate court resolves independently of the trial court.
                 3. Political Subdivisions: Judgments: Appeal and Error. When a deci-
                    sion regarding a conditional use or special exception permit is appealed
                    under Neb. Rev. Stat. § 23-114.01(5) (Reissue 2012) and a trial is held
                    de novo under Neb. Rev. Stat. § 25-1937 (Reissue 2016), the findings
                    of the district court shall have the effect of a jury verdict and the court’s
                    judgment will not be set aside by an appellate court unless the court’s
                    factual findings are clearly erroneous or the court erred in its application
                    of the law.
                 4. Standing. Standing relates to a court’s power to address the issues
                    presented and serves to identify those disputes which are appropriately
                    resolved through the judicial process.
                 5. ____. The focus of the standing inquiry is not on whether the claim the
                    plaintiff advances has merit; it is on whether the plaintiff is the proper
                    party to assert the claim.

                  Appeal from the District Court for Lancaster County: Jodi
               L. Nelson, Judge. Affirmed.
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                EGAN v. COUNTY OF LANCASTER
                        Cite as 308 Neb. 48
  Gregory D. Barton, of Barton Law, P.C., L.L.O., for
appellants.

  Patrick Condon, Lancaster County Attorney, Jenifer T.
Holloway, and Daniel J. Zieg for appellees County of Lancaster,
Board of Commissioners of Lancaster County, and Planning
Commission of Lancaster County.

  Stephen D. Mossman and Joseph A. Wilkins, of Mattson
Ricketts Law Firm, for appellee Randy Essink.

  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.

   Papik, J.
   The Lancaster County Board of Commissioners (the Board)
granted Randy Essink a special use permit allowing him to
construct and operate a poultry production facility on land
within the county’s agricultural zoning district. E. Jane Egan
and Janis Howlett challenged that decision in district court,
arguing that the proposed facility would lead to adverse effects
on the environment, public health, local infrastructure, and
property values. The district court found that Egan lacked
standing to challenge the issuance of the special use permit
and found that the permit was appropriately issued. Egan and
Howlett now appeal. Finding no error in the district court’s
decision, we affirm.

                       BACKGROUND
Essink’s Proposed Facility and
Applicable Zoning Regulations.
   Essink began contemplating a new business venture when
he learned that Lincoln Premium Poultry (LPP) was recruiting
individuals to raise broiler chickens that would be proc­essed
by LPP for sale to Costco. After obtaining more informa-
tion, Essink identified and purchased a piece of property
in Lancaster County that he believed would meet LPP’s
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                  308 Nebraska Reports
                 EGAN v. COUNTY OF LANCASTER
                         Cite as 308 Neb. 48
requirements. On May 14, 2018, Essink submitted an applica-
tion to Lancaster County’s planning department for a special
use permit that would allow him to operate a commercial
feedlot on his farm.
   Essink’s application for a special use permit was necessary
under the 1979 Zoning Resolution of Lancaster County (the
zoning regulations). The zoning regulations designate zoning
districts, including an agricultural district in which Essink’s
property is located. Article 4 of the zoning regulations states
that the agricultural district “is designated for agricultural use
and is intended to encourage a vigorous agricultural industry
throughout the county and to preserve and protect agricultural
production by limiting urban sprawl as typified by urban or
acreage development.” With a special use permit, buildings
within the agricultural district may be used as commercial
feedlots. The parties do not dispute that Essink’s proposed
operation qualifies as a commercial feedlot.
   Under the zoning regulations, an application for a special use
permit is initially submitted to the Lancaster County Planning
Commission (the Commission). The Commission is required to
then hold a public hearing. Article 13, section 13.002, of the
zoning regulations directs that in considering the application,
the Commission is to “consider the effect of such proposed
building or uses upon the character of the neighborhood, traf-
fic conditions, public utility facilities, the Comprehensive Plan
and any other matters relating to the public health, safety and
general welfare.” The zoning regulations allow decisions of the
Commission regarding special use permits to be appealed to
the Board.

Planning Commission.
   After Essink submitted his application, the Commission
scheduled a public hearing. At the hearing, county officials
provided testimony, as did witnesses called by Essink and
community members opposed to the issuance of the spe-
cial use permit. The Commission also received documentary
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                EGAN v. COUNTY OF LANCASTER
                        Cite as 308 Neb. 48
evidence. At the conclusion of the hearing, the Commission
approved the special permit subject to certain conditions on a
6-3 vote.
  The Commission’s decision was appealed to the Board.
County Board.
   The Board held a public hearing regarding the applica-
tion for a special use permit. At the hearing, Essink and other
proponents of the special use permit provided testimony as
did community members who opposed issuance of the special
use permit.
   The Board approved the special use permit subject to certain
conditions to which Essink agreed on a 3-2 vote. Egan and
Howlett appealed the Board’s decision to the district court.
District Court.
   The district court held a bench trial. The records of the
public hearings before the Commission and the Board were
received as evidence.
   Egan lives on an acreage 12.7 miles from Essink’s property.
Egan testified that she was concerned that Essink’s proposed
operation would result in pollution and depreciation of the
value of surrounding property. She also testified that she was
concerned that if Essink’s proposed operation was approved,
a similar operation might be approved near her property.
Howlett lives 0.6 miles from Essink’s property. She testi-
fied that she was concerned that the proposed facility would
result in reduced air quality and depreciation of the value of
her property.
   The district court also received evidence regarding Essink’s
proposed facility. That evidence included testimony from a
representative of LPP who testified regarding the training LPP
provides to its growers and the standards it requires them to
follow. He explained that LPP service technicians monitor
growers’ compliance with those standards. LPP requires that
its growers work with a nutrient management company. A
representative from a nutrient management company testified
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                  308 Nebraska Reports
                 EGAN v. COUNTY OF LANCASTER
                         Cite as 308 Neb. 48
that the company had been retained to develop a nutrient man-
agement plan for Essink’s operation and explained the details
of that plan.
   The county planner testified that the application for a special
permit met the criteria for approval under the zoning regula-
tions. Evidence in the record also indicated that the application
was reviewed by the Lower Platte South Natural Resources
District, the Nebraska Department of Environmental Quality,
and the Lincoln-Lancaster County Health Department and that
none of these entities objected to the application. Additional
evidence in the record will be discussed as necessary in the
analysis section below.
   The district court affirmed the issuance of the special use
permit in a written order. The district court concluded that
Egan did not have standing. It went on to consider whether the
special use permit was appropriately issued. After summarizing
the evidence, the district court concluded that the application
exceeded the criteria for approval as set forth in the zoning
regulations. It approved the special use permit subject to cer-
tain conditions to which Essink agreed.
   Egan and Howlett appealed.

                  ASSIGNMENTS OF ERROR
   Egan and Howlett assign, condensed and restated, that the
district court erred by (1) failing to find that Egan had stand-
ing and (2) finding that the special use permit was prop-
erly approved.

                   STANDARD OF REVIEW
   [1] Standing is a jurisdictional component of a party’s case,
because only a party who has standing may invoke the juris-
diction of a court; determination of a jurisdictional issue which
does not involve a factual dispute is a matter of law which
requires an appellate court to reach its conclusions independent
from those of a trial court. Griffith v. Nebraska Dept. of Corr.
Servs., 304 Neb. 287, 934 N.W.2d 169 (2019).
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                  308 Nebraska Reports
                 EGAN v. COUNTY OF LANCASTER
                         Cite as 308 Neb. 48
   [2] Statutory interpretation is a question of law, which
an appellate court resolves independently of the trial court.
DeLima v. Tsevi, 301 Neb. 933, 921 N.W.2d 89 (2018).
   [3] When a decision regarding a conditional use or spe-
cial exception permit is appealed under Neb. Rev. Stat.
§ 23-114.01(5) (Reissue 2012) and a trial is held de novo
under Neb. Rev. Stat. § 25-1937 (Reissue 2016), the findings
of the district court shall have the effect of a jury verdict and
the court’s judgment will not be set aside by an appellate court
unless the court’s factual findings are clearly erroneous or the
court erred in its application of the law. In re Application of
Olmer, 275 Neb. 852, 752 N.W.2d 124 (2008).
                           ANALYSIS
Standing.
   The district court concluded that Egan lacked standing to
challenge the issuance of the special use permit. Because
standing is a jurisdictional issue, we address it first. See
Central Neb. Pub. Power Dist. v. North Platte NRD, 280 Neb.
533, 788 N.W.2d 252 (2010).
   [4,5] Standing relates to a court’s power to address the
issues presented and serves to identify those disputes which are
appropriately resolved through the judicial process. Griffith,
supra. The focus of the standing inquiry is not on whether
the claim the plaintiff advances has merit; it is on whether the
plaintiff is the proper party to assert the claim. See Heiden v.
Norris, 300 Neb. 171, 912 N.W.2d 758 (2018).
   The district court found that Egan was not a proper party
to object to the special use permit because she lives nearly
13 miles from the proposed operation and had not shown that
she would be injured by its issuance. Generally, a party has
standing only if he or she has suffered or will suffer an injury
in fact. See Central Neb. Pub Power Dist., supra. We have
said that such an injury must be “concrete in both a qualitative
and temporal sense,” that it must be “distinct and palpable,
as opposed to merely abstract,” and that the alleged harm
must be “actual or imminent, not conjectural or hypothetical.”
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                  308 Nebraska Reports
                 EGAN v. COUNTY OF LANCASTER
                         Cite as 308 Neb. 48
Id. at 542, 788 N.W.2d at 260. We have also emphasized that
it is generally insufficient for standing purposes for a plaintiff
to have “merely a general interest common to all members of
the public.” Ritchhart v. Daub, 256 Neb. 801, 806, 594 N.W.2d
288, 292 (1999).
    Egan does not quarrel with the district court’s conclusion
that she could not demonstrate an injury in fact. We do not see
how she could. Egan testified that she opposed the special use
permit as a member of the public and a taxpayer. She expressed
concerns that Essink’s proposed operation would result in
pollution and depreciate the value of surrounding properties
owned by others. While Egan also testified that she feared that
approval of this special use permit might lead to the approval
of similar operations near her property, she did not identify any
way in which her legal interests would be injured as a result
of the approval of a permit for operation of a feedlot approxi-
mately 13 miles from her home. Because Egan did not identify
any injury peculiar to herself, we agree with the district court
that she did not demonstrate she has suffered or will suffer an
injury in fact.
    Though Egan cannot demonstrate an injury in fact, she main-
tains that she nonetheless has standing. She argues that she
has standing under an exception to the general injury-in-fact
requirement and under a specific statute. As we will explain,
we disagree with both arguments.
    Our cases have recognized some exceptions to the usual
requirement that a plaintiff demonstrate an injury in fact.
See Griffith v. Nebraska Dept. of Corr. Servs., 304 Neb. 287,
934 N.W.2d 169 (2019). According to Egan, she has standing
under one such exception. In support of this argument, Egan
relies on Thompson v. Heineman, 289 Neb. 798, 857 N.W.2d
731 (2015).
    In Thompson, parties opposed to the construction of an
oil pipeline brought an action against state officials, seeking
a declaratory judgment that a statute allowing pipeline carri-
ers to bypass the regulatory procedures of the Public Service
Commission and obtain approval to exercise the power of
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                 EGAN v. COUNTY OF LANCASTER
                         Cite as 308 Neb. 48
e­ minent domain for the building of the pipeline from the
 Governor was unconstitutional. While plaintiffs did not estab-
 lish traditional injury-in-fact standing, four members of the
 court found that plaintiffs had standing under an exception
 to the injury-in-fact requirement for matters of “great public
 concern” first recognized in Cunningham v. Exon, 202 Neb.
 563, 276 N.W.2d 213 (1979). The four members of the court
 who found that the great public concern exception applied in
 Thompson did so because the claims at issue were analogous to
 “claims involving the election of representatives and the way
 the constitution can be changed” in that they involved “the citi-
 zens’ interest in their form of government.” 289 Neb. at 822,
 857 N.W.2d at 751.
    Three members of the court disagreed that plaintiffs had
 standing. See Thompson, supra (Heavican, C.J., and Stephan
 and Cassel, JJ., dissenting in part, and in part concurring in
 the result). Because those three members of the court believed
 jurisdiction was lacking, they expressed no opinion as to
 whether the statute at issue was unconstitutional. And because
 five judges did not find the statute unconstitutional, the dis-
 trict court’s decision finding the statute unconstitutional was
 vacated pursuant to the supermajority requirement of article V,
 § 2, of the Nebraska Constitution.
    The parties in this case have assumed that the opinion of
 four judges finding that the Thompson plaintiffs had standing
 under the great public concern exception is controlling prec-
 edent. We need not address the accuracy of that assumption,
 because, even if Thompson is controlling, it does not assist
 Egan here. While Egan asserts that this case is a matter of
 great public concern, she makes no attempt to show that the
 issuance of a special use permit for a specific location, as in
 Thompson, involved “the citizens’ interest in their form of gov-
 ernment.” 289 Neb. at 822, 857 N.W.2d at 751. Indeed, Egan’s
 challenge is aimed entirely at the substance of a governmental
 decision rather than challenging the legal authority of those
 who made it.
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                 EGAN v. COUNTY OF LANCASTER
                         Cite as 308 Neb. 48
    At oral argument, Egan’s counsel acknowledged that Egan
“does not fall within the same circumstances” as the plain-
tiffs in Thompson, but requested that we “extend” the great
public concern exception to Egan’s challenge in this case. We
decline Egan’s invitation. We have previously emphasized that
“[e]xceptions to the rule of standing must be carefully applied
in order to prevent the exceptions from swallowing the rule.”
State ex rel. Reed v. State, 278 Neb. 564, 571, 773 N.W.2d 349,
355 (2009). Consistent with that principle, we have rejected
the argument that a plaintiff has standing under the great
public concern exception merely because he or she is alleg-
ing that public officials are not acting within statutory limits.
See, e.g., Neb. Against Exp. Gmblg. v. Neb. Horsemen’s Assn.,
258 Neb. 690, 605 N.W.2d 803 (2000) (holding that plaintiffs
challenging state commission’s issuance of licenses to con-
duct simulcast horseracing as contrary to statutory authority
lacked standing under great public concern exception). Given
this precedent, we see no principled basis by which we could
find that the challenge made here—that the officials given the
authority to issue special use permits erred in doing so—is one
that can be raised by a taxpayer under the great public con-
cern exception.
    This leaves Egan’s argument that she has standing under a
statute, Neb. Rev. Stat. § 23-114.05 (Reissue 2012). Section
23-114.05 provides in relevant part: “The erection, construc-
tion, reconstruction, alteration, repair, conversion, maintenance,
or use of any building, structure, automobile trailer, or land in
violation of sections 23-114 to 23-114.04 . . . or any regula-
tion made by the county board under such sections shall be a
misdemeanor.” The referenced regulations encompass county
zoning regulations. Section 23-114.05 further provides:
      In addition to other remedies, the county board or the
      proper local authorities of the county, as well as any
      owner or owners of real estate within the district affected
      by the regulations, may institute any appropriate action
      or proceedings to prevent such unlawful construction,
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                  308 Nebraska Reports
                 EGAN v. COUNTY OF LANCASTER
                         Cite as 308 Neb. 48
      erection, reconstruction, alteration, repair, conversion,
      maintenance, or use, to restrain, correct or abate such
      violation, or to prevent the illegal act, conduct, business,
      or use in or about such premises.
   Egan argues that because she is an owner of real estate
within the agricultural zoning district, she has standing under
§ 23-114.05 to challenge the issuance of the special use permit
even if she cannot demonstrate an injury in fact.
   Although the Legislature may, so long as it acts within
the bounds of other constitutional provisions, confer standing
that is broader than the common-law baseline, see Griffith v.
Nebraska Dept. of Corr. Servs., 304 Neb. 287, 934 N.W.2d 169(2019), § 23-114.05 does not confer standing on Egan in this
case. Section 23-114.05 allows “owners of real estate within
the district affected by the regulations” to bring an action to
prevent the use of property in violation of, among other things,
zoning regulations, which violation is made a misdemeanor by
the statute. But there is no suggestion in this case that Essink
committed a criminal offense by, for example, constructing a
building in violation of zoning regulations. Instead, this case
arose because Essink, pursuant to zoning regulations, sought
and obtained a special use permit before constructing a com-
mercial feedlot. A different statute, § 23-114.01(5), authorizes
appeals of decisions regarding special use permits to the dis-
trict court, but that statute does not contain similar expansive
language allowing all “owners of real estate within the district
affected by the regulations” to bring such appeals. Egan does
not have standing under § 23-114.05.
   While the district court correctly concluded that Egan lacked
standing, it apparently concluded that Howlett had standing, as
it went on to consider the merits of her challenge to the issu-
ance of the special use permit. We agree that Howlett, who
testified that her home was just 0.6 miles from the site of the
proposed facility, satisfied the injury-in-fact requirement and
had standing. We will thus go on to consider her assignment of
error challenging the district court’s order affirming the issu-
ance of the special use permit.
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                  308 Nebraska Reports
                 EGAN v. COUNTY OF LANCASTER
                         Cite as 308 Neb. 48
Merits.
   Howlett’s argument that the district court committed revers-
ible error by affirming the issuance of the special use permit
hinges on article 13.002 of the zoning regulations. Section
13.002 states in relevant part:
      Before the issuance of any special permit of any build-
      ings or uses, the County Board shall refer the proposed
      application to the Planning Commission. The Planning
      Commission shall hold a public hearing and shall con-
      sider the effect of such proposed building or uses upon
      the character of the neighborhood, traffic conditions, pub-
      lic utility facilities, the Comprehensive Plan and other
      matters relating to the public health, safety and gen-
      eral welfare.
   Howlett argues that the district court, in its review of the
decision of the Board, was also required to consider the fac-
tors enumerated above. She argues the district court failed to
consider the effect Essink’s proposed facility would have on
the character of the neighborhood, traffic conditions, and the
public health, safety, and general welfare.
   Howlett’s argument, however, immediately encounters a for-
midable obstacle. In its order affirming the issuance of the spe-
cial use permit, the district court stated that it had considered
the very factors Howlett contends it did not. The order states
that the district court had considered Essink’s application, the
applicable zoning regulations, and “the evidence presented
relating to the effect of the proposed buildings and use upon
the character of the neighborhood, traffic conditions . . . and
other matters relating to the public health, safety and gen-
eral welfare.”
   According to Howlett, the district court cannot be taken at
its word as to the factors it considered in affirming the issuance
of the special use permit. Instead, she contends that, given the
evidence in the record, the district court could not possibly
have considered the effect Essink’s proposed operation would
have on the character of the neighborhood, traffic conditions,
and the public health, safety, and general welfare and still
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                   308 Nebraska Reports
                 EGAN v. COUNTY OF LANCASTER
                         Cite as 308 Neb. 48
affirmed the issuance of the special use permit. We discuss
the evidence to which Howlett points and the arguments she
makes below.
   In support of her argument that the district court could not
have considered the effect Essink’s proposed operation would
have on the character of the neighborhood, Howlett points to
her own testimony that the number of residences in the area of
Essink’s proposed operation had substantially increased from
the time Howlett moved to the area in 1973. Howlett testified
that there were currently 70 residences in an area depicted on a
map received as an exhibit at trial.
   In support of her argument that the district court could
not have considered the effect Essink’s proposed operation
would have on traffic conditions, Howlett points to testi-
mony of a licensed civil engineer. This engineer testified that
because there would be increased use of the adjacent road, the
county would be required to make improvements to allow for
that usage.
   Howlett also argues that the district court could not have
considered the effect the proposed facility would have on the
public health, safety, and general welfare and affirmed the issu-
ance of the special use permit. Here, Howlett argues that the
proposed facility would reduce air quality and produce odor.
She also argues that the facility would result in the reduction
of property values of neighboring landowners. Finally, she
emphasizes Essink’s lack of experience in operating a poultry
facility and suggests that this lack of experience is a risk to the
public health, safety, and general welfare.
   We disagree with Howlett that the district court could
not possibly have considered the factors she identifies and
affirmed the issuance of the special use permit. In reaching
this conclusion, we are mindful that the applicable standard of
review requires that we treat the findings of the district court
in the same way we would treat a jury verdict, not setting
aside the district court’s judgment unless its factual findings
are clearly erroneous or the court erred in its application of
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                 EGAN v. COUNTY OF LANCASTER
                         Cite as 308 Neb. 48
the law. See In re Application of Olmer, 275 Neb. 852, 752
N.W.2d 124 (2008). As we will explain, the evidence on each
of the factors Howlett identifies was not as one-sided as she
suggests and certainly did not preclude the district court from
finding the special use permit was appropriately issued.
   With respect to the character of the neighborhood, Howlett
attempts to portray the surrounding area as residential. In her
testimony, however, she acknowledged that some of the 70
nearby residences she referenced were not in Lancaster County.
The county planner also testified that while there were some
acreage lots in the surrounding area, it was “mostly still in
agricultural use.” He also testified that a residential acreage
development Howlett identified was over a mile away from
the proposed site of Essink’s facility. Further, while section
13.002 of the zoning regulations calls for consideration of the
character of the neighborhood, the district court could also
consider that Essink’s property was located in the agricultural
district and that article 4 of the zoning regulations provides
that the agricultural district “is designated for agricultural use
and is intended to encourage a vigorous agricultural industry
throughout the county and to preserve and protect agricultural
production by limiting urban sprawl as typified by urban or
acreage development.”
   Howlett’s argument regarding the effect of Essink’s pro-
posed facility on traffic also takes a selective view of the
evidence in the record. While she highlights testimony from a
witness who believed that the increased traffic from the pro-
posed facility would require the county to improve the adja-
cent road, the record also contains evidence that the county
engineer did not believe, based on the anticipated increased
traffic of 1.4 trucks per day, that the road would require
improvement.
   Howlett fares no better with her argument that the district
court could not have considered the effect the proposed facility
would have on the public health, safety, and general welfare.
Although she asserts that the facility will reduce air quality
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                 EGAN v. COUNTY OF LANCASTER
                         Cite as 308 Neb. 48
and lead to offensive odor, she does not point to concrete evi-
dence supporting this assertion. In contrast, there is evidence in
the record that a tool developed by the University of Nebraska
Institute of Agriculture and Natural Resources estimated that
even the immediate vicinity of the proposed facility would
be free of odor 94 percent of the time. An official from the
Lincoln-Lancaster County Health Department also testified that
the proposed operation would be subject to the department’s
enforcement of county air pollution regulations and that the
department has the authority to, if necessary, ensure Essink is
using reasonable odor control techniques.
   Howlett also asserts that the proposed facility will cause
the value of surrounding property to decrease, but again does
not point to nonspeculative evidence supporting this asser-
tion. Instead, Howlett argues the district court was required
to find the proposed facility would lead to decreased property
values even in the absence of such evidence. She argues the
district court was compelled to do so by Darnall Ranch v.
Banner Cty. Bd. of Equal., 276 Neb. 296, 753 N.W.2d 819(2008). In that case, a property owner appealed a county
board of equalization’s determination of his property value
to the Tax Equalization and Review Commission. The prop-
erty at issue was near a 20,000-head cattle feedlot, and there
was unrefuted evidence that there were problems with dust
and flies, that trucks traveling to and from the feedlot caused
the home on the property to vibrate, and that the well for
the home was connected to the cattle-watering facility. We
held, under those circumstances, that the Tax Equalization and
Review Commission’s failure to consider the effect the prox-
imity of the feedlot would have on the property was arbitrary
and unreasonable.
   We disagree that Darnall Ranch has any application here.
This is not a challenge to the valuation of property. And, even
setting that major difference aside, we relied on unrefuted evi-
dence of the adverse effects of the feedlot in Darnall Ranch
before concluding that it was unreasonable to fail to take the
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                 EGAN v. COUNTY OF LANCASTER
                         Cite as 308 Neb. 48
feedlot into account when determining the property’s value.
Howlett has not identified any similar evidence here.
   Finally, we disagree that evidence of Essink’s inexperience in
running a poultry operation demonstrates that the district court
did not consider the effect his facility would have on the public
health, safety, and general welfare. Essink acknowledged his
lack of experience, but Howlett cannot point to any evidence
that a lack of experience will lead to detrimental effects on the
public health, safety, and general welfare. Moreover, a repre-
sentative of LPP testified that experience raising poultry is not
necessary to be an LPP supplier and, in fact, may be preferable
because LPP provides training and support and new suppliers
have “no bad habits.”
   To this, Howlett argues that there is no assurance that LPP
will provide the referenced training and support because there
was no evidence in the record that Essink and LPP had entered
into a contractual relationship. We disagree that this evidences
a lack of commitment to Essink on the part of LPP. The record
shows Essink has already received guidance and support from
LPP. In addition to the evidence presented at trial, the fact that
a representative of LPP testified at the district court in favor of
Essink’s application demonstrates a commitment to assisting
Essink with his proposed operation.
   In sum, the district court stated that it considered the fac-
tors identified in section 13.002 of the zoning regulations,
and we see no basis to question that assertion. Neither has
Howlett identified any other error of law or clearly erroneous
finding of fact. There is thus no basis to reverse the district
court’s decision.

                        CONCLUSION
  Because the district court did not err in affirming the county
board’s issuance of the special use permit, we affirm.
                                                    Affirmed.
